Case 1:09-cr-20536-TLL-PTM ECF No. 811, PageID.3401 Filed 08/30/16 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA

                      Plaintiff/Respondent,                Case No. 09-cr-20536

v                                                          Honorable Thomas L. Ludington

ERIC MARSHALL,

                  Defendant/Petitioner.
__________________________________________/

  ORDER GRANTING MOTION FOR EXTENSION, OVERRULING OBJECTIONS,
   ADOPTING REPORT AND RECOMMENDATION, DENYING MOTIONS TO
VACATE, DENYING CERTIFICATE OF APPEALABILITY and DENYING LEAVE TO
              PROCEED IN FORMA PAUPERIS ON APPEAL

       On February 13, 2012, Petitioner Eric Marshall pleaded guilty to Count 1 of a

superseding information charging him with conspiracy to distribute 28 grams or more of cocaine

base in violation of 21 U.S.C. §§ 846, 841(a)(1). See ECF No. 57. Because Petitioner qualified

as a career offender under § 4B1.2(b) based on two prior controlled substance convictions, he

was sentenced to 262 months of incarceration on October 11, 2012. His sentence was to be

served consecutively with sentences being served with the Michigan and Missouri Departments

of Corrections. See ECF No. 659. Judgment was entered that same day, and Petitioner did not

file any appeal.

                                               I.

       On March 15, 2016, Petitioner filed a motion to vacate his sentence pursuant to 28 U.S.C.

§ 2255 based on the Supreme Court’s decision in Johnson v. United States, 135 S. Ct. 2551

(2015) (striking down the residual clause of the Armed Career Criminal Act as unconstitutionally

vague). See ECF No. 758. After Magistrate Judge Patricia T. Morris ordered an answer from
Case 1:09-cr-20536-TLL-PTM ECF No. 811, PageID.3402 Filed 08/30/16 Page 2 of 5




Respondent United States, Respondent filed a Response. See ECF No. 787. On June 21, 2016,

Petitioner filed a second motion to vacate sentence, which the magistrate judge construed as a

reply to the response. See ECF No. 794.

       On July 14, 2016 the magistrate judge issued her report and recommendation,

recommending that Petitioner’s motion to vacate be denied. See Rep. & Rec., ECF No. 802. She

reasoned that because Petitioner’s status as a career offender was based on two prior controlled

substance convictions his sentence did not present a residual clause issue, and thus Johnson was

inapplicable. Id. After seeking an extension, Petitioner filed objections (filed as a motion to

respond) on August 22, 2016. See ECF Nos. 806, 808. Petitioner will be granted an extension

and his objections will be accepted as filed.

                                                II.

       Pursuant to Federal Rule of Civil Procedure 72, a party may object to and seek review of

a magistrate judge’s report and recommendation. See Fed. R. Civ. P. 72(b)(2). Objections must

be stated with specificity. Thomas v. Arn, 474 U.S. 140, 151 (1985) (citation omitted). If

objections are made, “[t]he district judge must determine de novo any part of the magistrate

judge’s disposition that has been properly objected to.” Fed. R. Civ. P. 72(b)(3). De novo review

requires at least a review of the evidence before the magistrate judge; the Court may not act

solely on the basis of a magistrate judge’s report and recommendation. See Hill v. Duriron Co.,

656 F.2d 1208, 1215 (6th Cir. 1981). After reviewing the evidence, the Court is free to accept,

reject, or modify the findings or recommendations of the magistrate judge. See Lardie v. Birkett,

221 F. Supp. 2d 806, 807 (E.D. Mich. 2002). Petitioner now raises two objections to the

magistrate judge’s order.

                                                A.



                                                -2-
Case 1:09-cr-20536-TLL-PTM ECF No. 811, PageID.3403 Filed 08/30/16 Page 3 of 5




         In his first objection, Petitioner argues that his Constitutional rights have been violated

because his former attorney did not file an appeal, despite representing to Marshall that he would

do so. Petitioner did not raise this argument in his motion to vacate or in any other filings with

this Court.    Issues raised for first time in objections to a magistrate judge’s report and

recommendation are deemed waived. United States v. Waters, 158 F.3d 933, 936 (6th Cir.

1998).

         Even considering the objection would not provide Petitioner any relief. A petitioner

claiming ineffective assistance of counsel must show (1) that counsel’s representation fell below

an objective standard of reasonableness and (2) that counsel’s deficient performance prejudiced

the defendant. See Strickland v. Washington, 466 U.S. 668 (1984). While it is true that a

petitioner can claim that counsel was constitutionally ineffective for failing to file a notice of

appeal, the defendant must still satisfy his burden of showing prejudice. See Roe v. Flores-

Ortega, 528 U.S. 470, 477 (2000). To do so, a Petitioner must show that counsel’s allegedly

deficient performance “actually cause[d] the forfeiture of the defendant’s appeal.” Id. at 484.

         This Petitioner cannot do. As part of his plea agreement, Petitioner waived the right to

appeal any sentence over 262 months, which is the sentence he ultimately received. See ECF No.

553. Petitioner Marshall signed the plea agreement, attesting that he understood the document

and agreed to its terms. Id. “It is well settled that a defendant in a criminal case may waive his

right to appeal his sentence in a valid plea agreement.” United States v. Smith, 344 F.3d 479, 483

(6th Cir. 2003).     Because Petitioner voluntarily waived his right to appeal his 262-month

sentence, he cannot show that his counsel caused the forfeiture of his appeal. His first objection

will therefore be overruled.

                                                 B.



                                                -3-
Case 1:09-cr-20536-TLL-PTM ECF No. 811, PageID.3404 Filed 08/30/16 Page 4 of 5




       In his second objection, argues that his former counsel wrongfully allowed him to be

classified as a career offender. This argument is without merit because Petitioner was properly

classified as a career offender under §§ 4B1.1(a) and 4B1.2(b) based on two prior controlled

substance convictions. Because his career offender status was based on controlled substance

offenses under § 4B1.2(b) – not crimes of violence under § 4B1.2(a) – the holding in Johnson is

inapplicable to his classification as a career offender.     His second objection will thus be

overruled.

                                               III.

       Before Petitioner may appeal the Court’s decision, a certificate of appealability must

issue. See 28 U.S.C. § 2253(c)(1)(a); Fed. R. App. P. 22(b). A certificate of appealability may

issue “only if the applicant has made a substantial showing of the denial of a constitutional

right.” 28 U.S.C. § 2253(c)(2). When a court denies relief on the merits, the substantial showing

threshold is met if the petitioner demonstrates that reasonable jurists would find the court’s

assessment of the constitutional claim debatable or wrong. Slack v. McDaniel, 529 U.S. 473,

484-85 (2000). When a court denies relief on procedural grounds without addressing the merits,

a certificate of appealability should issue if it is shown that jurists of reason would find it

debatable whether the petitioner states a valid claim of the denial of a constitutional right and

that jurists of reason would find it debatable whether the court was correct in its procedural

ruling. Id.

       Having considered the matter, the Court concludes that Petitioner has failed to make a

substantial showing of the denial of a constitutional right.       Accordingly, a certificate of

appealability is not warranted in this case. The Court further concludes that Petitioner should not




                                               -4-
Case 1:09-cr-20536-TLL-PTM ECF No. 811, PageID.3405 Filed 08/30/16 Page 5 of 5




be granted leave to proceed in forma pauperis on appeal, as any appeal would be frivolous. See

Fed. R. App. P. 24(a).

                                                           IV.

       Accordingly, it is ORDERED that Petitioner Marshall’s request for an extension, ECF

No. 806, is GRANTED. His objections, ECF No. 808, are ACCEPTED AS FILED.

       It is further ORDERED that Petitioner Marshall’s Objections/Motion to respond, ECF

No. 808, is OVERRULED.

       It is further ORDERED that the magistrate judge’s report and recommendation, ECF No.

802, is ADOPTED.

       It is further ORDERED that Petitioner Marshall’s Motion to Vacate, ECF Nos. 778, 794,

is DENIED and DISMISSED.

       It is further ORDERED that a certificate of appealability is DENIED.

       It is further ORDERED that leave to proceed in forma pauperis on appeal is DENIED.



                                                                   s/Thomas L. Ludington
                                                                   THOMAS L. LUDINGTON
                                                                   United States District Judge
Dated: August 30, 2016




                                                  PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on August 30, 2016.

                                                           s/Michael A. Sian
                                                           MICHAEL A. SIAN, Case Manager




                                                          -5-
